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                            IJM TED STA TES                                           D2&W
                                              D ISTRIC T CO U RT
                                 DISTRICT O F NEVA D A
 UNITED STATES 0FAM ERICA,                    )
                                              )
                    Plaintiff,                )
                                              )
                                              )           2:09-CR-302-GM N (PAL)
JUAN C                                        )
        ARLOS MACIAS-CHAVEZ,                  )
a.k.a.JuanCarlosM tmguia,                     )
a.k.a.M anoM unguia,                          )
a,kva.M arioM unguia--forres,
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                                              )
                                              )
                    Defendant.                )
                             FINAL O RDER OF FO RFEITURE

       On M arch l5,201l,theUnited Sutes DistlictCourtfortheDistrictofNevada entered a
Prelim ina!.
           yOrderofForfeittlrepursuanttoFed.R. Crim,P.32.
                                                        2(b)(1)and(2);Title21sUnitedStates
Code,Sedion853(a)(1)and(a)(2);ThlelBUnitedStatesCode,Section924(d)(1),(2)(C),and(3)(B)
apd Title 28,United SGtes Code,Section 246l(c);and Title 21,United SGtesCode, Section
S81(a)(l1)anclTitle28,United StatesCode,Section 2461(c),based upon thepleaofgtzilty by
defendmltJUAN CARLO S M ACIA S-CHAVEZ to crim inaloffenses, forfeiting specific property
alleged intheSuperseding lndictm entand shom lby theUnited Statestohavetherequisitenexusto
the offensesto which defendantJUAN CARLOS M ACIAS-CHAVEZ pled guilty Superseding      .



Indictment,ECF No.55;M inutesofChangeofPleaProceedings, ECF No.1249Prelim inary Order
ofForfeiture,ECF N o.128,
11
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      1              This Com'tfinds the United States of Am erica published the notice ofthe forfeiture in
      2 accordmw e w ith the law on M arch 17,2011,M arch 24,2O11,and M arch 31, 2O11,in the LasV egas
      3 Review-lournal/stmynotifying allthird partiesoftheirl'ightto petition theCourt. N otict of Filing 1
      4       ProofofPublication,ECF No.130.
      5i            ThisCourttindsnopetition wastiledherein by oronbehalfofanyperson orentity andthe
      6 time fort'ilingsuch pditionsand claimshasexpired.
      7             ThisCourtlindsnopetitionsarependingwithregardtotheassetsnamedhereinandthetime
      8 forpresenting such petitionshas expired. '
      9             THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DECREED thata11right
     10 title,and interestin the property hereinafterdescribed is condenm ed, forfeited,and vested in the
     ll United States ofAmerica ptlrsuantto Fed,R.Crim . P.32.
                                                             2(b)(4)(A)and (B);Fed.R.Crim.P.
     12 .32.2(c)(2);Title21,UnitedStettesCode,Section853(a)(1)and(a)(2);Title l8United StatesCodes
     13 Section924(d)(1),(2XC),and (3)(B)and Title28,United StatesCode,Section2461(c);Title21,
     14 UnitedSàtesCode,Svction881(a)(11)andTitle28,UnitedStatesCode,Section2461(c);andTitle
     15 21,UnitedStatesCode,Section853(n)(7)and@)andshallbedisposedofaccordingtolaw:
     16                   a)     aGlockM odel23,40caliberhandgunbearingserialnumberBES848US;
     17                   b)     aM arlin.22caliberriflebemingserialnumber94414112;
     18                   c)     anyanda1lammunition;and,                                                     E
     19                   d)     aninpersonam criminalforfeituremoneyjudgmentintheamountof$9,050.00           I
                                                                                                              i
     20               ,          in United SltesCurrency.             '                                       i
                                                                                                              I
     21             IT IS FLJRTTIER ORDERED,ADJUDGED,AND DECREED thatany andal1forfeited
     22 ftm ds,including butnotlim ited to,currency,currency equivalents, certificatesofdeposit,aswell
     23 asany income derived asaresultoftlze United StatesofAm erica'smanagementofany property
     24 forfelted herein,aztdtheproceedsfrom thesaleofany forfeited'property shallbedisposed of
     25 according to lav:,
     26       ...


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     1               TheClerk ishereby directed to send copiesofthisOrderto a1lcotmselofrecord andthree
     2       certified copiesto theUnited StatesAttorney'sOftk e.
     3              DATED tM s              day of                     , l2,
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